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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

               Plaintiff,

        v.                                              Civil Action No. 25-0716 (BAH)

 U.S. DEPARTMENT OF JUSTICE, et al.,

               Defendants.


                               NOTICE OF WITHDRAWAL

       Undersigned counsel, Terry M. Henry, will soon be retiring from the United States

Department of Justice and requests that the Clerk of the Court please remove his appearance as

counsel for Defendants in the above-captioned case. Defendants will continue to be represented

by lead counsel, Deputy Associate Attorney General Richard Lawson, and any other Department

of Justice attorneys who enter an appearance.

 Dated: March 21, 2025                     Respectfully submitted,
        Washington, D.C.


                                           /s/ Terry M. Henry
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